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                                                                                         [ECF No. 33]

                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE


  GREG BOSTARD, et al.,
                                                       Civil No. 23-8564 (JHR)(EAP)
                       Plaintiffs,

          v.                                           ORDER ON MOTION TO COMPEL
                                                       DISCOVERY
  VERIZON COMMUNICATIONS INC., et
  al.,

                        Defendants.


        This matter having come before the Court on Plaintiffs Greg Bostard and Tony Rockhill

 (“Plaintiffs”) and Defendants Verizon Communications Inc.’s and Verizon New Jersey Inc.’s

 (“Defendants”) November 25, 2024 joint letter to the Court, ECF No. 33, identifying and summarizing

 a discovery dispute; and the Court having reviewed the letter and the parties’ respective positions

 regarding the dispute; and the Court having conducted a discovery dispute conference on the record

 with the parties on December 20, 2024, at which time the Court notified the parties that it intended to

 treat the letter as a motion to compel; and the Court further noting the following appearances:

 Christopher L. Ayers, Esquire, appearing on behalf of Plaintiffs; Jennifer L. Del Medico, Esquire,

 Alisann K. Anderson, Esquire, and Harley Raff, Esquire, appearing on behalf of Defendants; and

 for the reasons stated on the record, and good cause shown,

        IT IS this 20th day of December 2024;

        ORDERED that Plaintiffs request for the production of documents is DENIED WITHOUT

 PREJUDICE pending the Court’s decision on Defendants’ Motion to Dismiss Plaintiff’s Second

 Amended Complaint, ECF No. 27.

                                                        s/Elizabeth A. Pascal
                                                        ELIZABETH A. PASCAL
                                                        United States Magistrate Judge

 cc: Hon. Joseph H. Rodriguez, U.S.D.J.
